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                                  UNITED STATES DISTRICT COURT
                                    SENTENCING MINUTES

Date: 9/27/2022                                                             Case No.:       1:20-CR-18-1
Time: 2:01-2:36                                                             Judge:          Hon. Anthony J. Trenga
                                                                            Reporter :      Rhonda Montgomery
UNITED STATES of AMERICA                                                    Deputy Clerk:   Dani Zirk
                                                                            Interpreter:
            V.                                                              Language:

ANDY TOVAR

Counsel for Defendant                                                     Counsel for Government
Edward Ungvarsky                                                          Nicholas Patterson
Joseph King                                                               Amanda Lowe

Court adopts PSI (X) without exceptions ( ) with exceptions: Govt.’s has no objections to the PSIR. Deft. objects to
the offense conduct detailed in paragraphs 25, 28, 29, 33, 35, and 37 - overruled. Deft. also objects to the lack of
entitlement for acceptance of responsibility detailed in paragraphs 102, 104, and 138, -overruled; and the criminal
history category score of IV detailed in paragraph 153 – no ruling issued .

SENTENCING GUIDELINES :
Offense Level: 43
Criminal History:   IV
Imprisonment Range: Counts 1, 2, 4, 5, 7, and 9: LIFE
                     Count 12: 120 months, consecutive to all other Counts
Supervised Probation: Ineligible
Supervised Release: 3 to 5 years
Fine Range: $ 50,000 to $1,000,000
Restitution: TBD
Special Assessment $700 ($100 as to each Count)

JUDGMENT OF THE COURT:
BOP for a term of LIFE as to Count 1, 120 months as to each Count 2, 4, and 7 to run concurrently to each other and all
other Counts, 240 months as to each Count 5 and 9, to run concurrently to each other and all other Counts, and 120
months as to Count 12, to run consecutively to all other Counts.
Supervised Release for a total of 5 years as to Counts 1, 5, and 12, and 3 years as to Counts 2, 4, 7, and 9, all to run
concurrently, with special conditions
Restitution of TBD
Special Assessment $700 ($100 as to each Count)
(X) Fine/costs of incarceration waived.

SPECIAL CONDITIONS:
 X The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritances, judgments,
   and any anticipated or unexpected financial gains to any outstanding court-ordered financial obligation, or in a lesser
   amount to be determined by the Court, upon the recommendation of the probation officer.
 X The defendant shall provide the probation officer access to any requested financial information.
 X If the defendant tests positive for controlled substance or shows signs of alcohol abuse, the defendant shall participate in
   a program approved by the United States Probation Office for substance abuse, which program may include residential
   treatment and testing to determine whether the defendant has reverted to the use of drugs or alcohol, with partial cost to
   be paid by the defendant, all as directed by the probation officer.
 X The defendant shall participate in a program approved by the United States Probation Office for mental health
   treatment. The cost of this program is to be paid by the defendant as directed by the probation officer.
 X The defendant shall not communicate or associate with, by any means, any known member or associate of a criminal
   street gang, including, but not limited to, La Mara Salvatrucha (MS-13).
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RECOMMENDATIONS to BOP:
    Dft. to be designated to
    Dft. designated to facility to participate in ICC (Boot Camp) type program
    Dft. to participate in the BOP 500 Hour Residential Drug Abuse Treatment Program (RDAP).

Defendant: (X) Remanded   ( ) Cont’d on Bond   ( ) Referred to USPO   ( ) Self-surrender
